
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/supreme/a_66_15.pdf) could not be found on this server.
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/attorneys/assets/opinions/supreme/a_62_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_64_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_56_15.pdf (mistyped character)
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/attorneys/assets/opinions/supreme/a_86_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_69_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_76_15.pdf (mistyped character)


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